

Matter of Nakamura (2019 NY Slip Op 05374)





Matter of Nakamura


2019 NY Slip Op 05374


Decided on July 3, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.




Decided and Entered: July 3, 2019
[*1]
In the Matter of SATOSHI NAKAMURA, an Attorney. 
(Attorney Registration No. 2944569)

Calendar Date: June 24, 2019

Before: Garry, P.J., Lynch, Clark, Devine and Pritzker, JJ.


Satoshi Nakamura, Tokyo, Japan, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Satoshi Nakamura was admitted to practice by this Court in 1999 and lists a business address in Tokyo, Japan with the Office of Court Administration. Nakamura has applied to this Court, by affidavit sworn to February 22, 2019, for leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application on the basis that Nakamura omitted three material responses in his submission and, therefore, his application to resign was not in the proper form prescribed by Rules for Attorney Disciplinary Matters (22 NYCRR) § 1240.22 (a) (1) (see  Rules for Attorney Disciplinary Matters [22 NYCRR] part 1240, appendix E).
In reply to AGC's opposition, however, Nakamura has submitted supplemental correspondence, dated June 19, 2019, in which he corrects the irregularities in his prior submission. Accordingly, with AGC voicing no other substantive objection to his application, and having determined that Nakamura is now eligible to resign for nondisciplinary reasons, we grant the application and accept his resignation.
Garry, P.J., Lynch, Clark, Devine and Pritzker, JJ., concur.
ORDERED that Satoshi Nakamura's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Satoshi Nakamura's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Satoshi Nakamura is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Nakamura is hereby forbidden to appear as an attorney or counselor-at-law before [*2]any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Satoshi Nakamura shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








